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REED SMITH LLP
Formed in the State of Delaware
Kyle O. Sollie, Esq. (036931996)
(Admission Pending)
David G. Murphy, Esq. (069822013)
506 Carnegie Center, Suite 300
Princeton, New Jersey 08540
Tel. (609) 987-0050
Fax (609) 951-0824
ksollie@reedsmith.com
dmurphy@reedsmith.com

                     UNITED STATES DISTRICT COURT FOR THE
                            DISTRICT OF NEW JERSEY


ENERGY TRANSFER OPERATING, L.P.                     Civil Action No.:

       Plaintiff,
                                                        VERIFIED COMPLAINT FOR
               v.                                     DECLARATORY AND INJUNCTIVE
                                                                RELIEF
JOHN J. FICARA, individually and in his capacity
as DIRECTOR, DIVISION OF TAXATION;
ELIZABETH MAHER MUOIO, individually and
in her capacity as NEW JERSEY STATE
TREASURER, DEPARTMENT OF THE
TREASURY, STATE OF NEW JERSEY,

       Defendants.



       Plaintiff Energy Transfer Operating, L.P. (“ETO”), by and through counsel, Kyle O.

Sollie, Esq. and David G. Murphy, Esq., of the law firm Reed Smith LLP hereby files this

Verified Complaint for Declaratory and Injunctive Relief against John J. Ficara, individually and

in his capacity as the Director of the Division of Taxation of the New Jersey Department of the

Treasury (“Director Ficara”), and against Elizabeth Maher Muoio, individually and in her

capacity as the New Jersey State Treasurer in the state’s Department of the Treasury (“Treasurer




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Muoio”). Together, Treasurer Muoio and Director Ficara are the “Defendants.” ETO alleges, on

knowledge as to its own actions, and otherwise upon information and belief, as follows:

                                 PRELIMINARY STATEMENT

       1.        ETO brings this action pursuant to the Declaratory Judgment Act, 28 U.S.C.

§ 2201, Rule 57 of the Federal Rules of Civil Procedure, and the Civil Rights Act of 1871, 42

U.S.C. §§ 1983 and 1988, against Defendants who have a mandate to impose, assess, and collect

fees from ETO under the color of state law (specifically N.J.S.A. 54A:8-6(b)(2)).          That

imposition, assessment, and collection violate the Commerce Clause of the Constitution of the

United States.

       2.        ETO seeks: (a) a declaratory judgment that the Defendants’ imposition,

assessment, and collection of those fees are a violation of the Commerce Clause; (b) an

injunction against Defendants from imposing, assessing, or collecting the fees from ETO; and

(c) costs and attorneys’ fees in this matter.

                                          JURISDICTION

       3.        The activities that give rise to the Defendants’ state-law mandate to impose,

assess, and collect the fees are ETO’s activities in interstate commerce. Namely, the fees are a

function of the number of partners that ETO has, and ETO has thousands of partners throughout

the United States. The fees are also a function of operations conducted by ETO through

operating companies and through various subsidiary partnerships throughout the United States,

including in New Jersey.

       4.        ETO alleges in this Complaint that the Defendants intend to impose, assess, and

collect the fees from ETO in a manner that: (a) discriminates against interstate commerce and

that (b) is not fairly apportioned among the states where ETO’s activity is conducted. Imposing,




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assessing, and collecting fees in that manner violates rights conferred upon ETO by the

Commerce Clause of the United States Constitution.          Thus, this Court has subject matter

jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1343 because this case arises under the

Constitution of the United States.

       5.      This Court has personal jurisdiction over the Defendants because they reside

within the District of New Jersey.

       6.      Jurisdiction is proper because ETO brings this action against “individual state

officers in their individual capacities for prospective injunctive and declaratory relief to end

continuing [and] ongoing violations of federal law.” MCI Telecomm. Corp. v. Bell Atl.-Pa., 271

F.3d 491, 506 (3d Cir. 2001) (quoting Ex Parte Young, 209 U.S. 123, 28 S. Ct. 441, 52 L.Ed. 714

(1908)).

       7.      Federal subject-matter jurisdiction is appropriate because the levy imposed under

N.J.S.A. 54A:8-6(b)(2) is a fee, not a tax, and thus the Tax Injunction Act does not apply. See 28

U.S.C. § 1341; San Juan Cell. Tel. Co. v. Pub. Serv. Comm’n, 967 F.2d 683 (1st Cir. 1992).

       8.      Specifically, the levy imposed by N.J.S.A. § 54A:8-6(b)(2) is a fee, not a tax,

because the levy has been labeled as such by the New Jersey legislature. Further, a committee of

the legislature has stated that the purpose of the levy is to recoup costs related to processing and

reviewing state tax returns of partnerships and their partners in order to track New Jersey-source

income. The fact that the Act imposing the fee was a revenue-raising act, not a regulatory act,

does not convert the levy from a fee to a tax. The fact that the resulting revenue is deposited into

the state’s General Fund does not convert the levy from a fee into a tax. And the fact that the

amount of the revenue does not correlate with the state’s costs related to processing returns does

not convert the levy from a fee into a tax.




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                                               VENUE

       9.      Venue is proper in this district under 28 U.S.C. § 1391(b)(1), because: (a) the

Defendants reside in New Jersey, under 28 U.S.C. § 1391(b)(2); (b) the Defendants’

unconstitutional actions occur in this district, 28 U.S.C. § 1391(b)(3); (c) the Defendants are

subject to personal jurisdiction in this district with respect to this action; and (d) there is no other

district in which the action may otherwise be brought, as Defendants maintain office and execute

their duties under the color of state law in Mercer County, New Jersey.

                                              PARTIES

       10.     ETO is a Delaware limited partnership with its principal place of business at 8111

Westchester Drive, Suite 600, Dallas, Texas 75255.

       11.     Director Ficara is the Acting Director of the Division of Taxation, which is a

division of the Department of the Treasury, organized and existing under the laws of the State of

New Jersey and having a principal place of business in Trenton, New Jersey. Defendant Ficara

has the duty under color of New Jersey law to impose, assess, and collect the fee from

partnerships, including from ETO. Upon information and belief, Director Ficara resides in

Morris County, New Jersey.

       12.     Treasurer Muoio is the New Jersey State Treasurer of the Department of the

Treasury, organized and existing under the laws of the State of New Jersey and having a

principal place of business in Trenton, New Jersey. Treasurer Muoio has responsibilities related

to the collection of the fee, including by levying upon and garnishing monies otherwise lawfully

belonging to partnerships, including ETO.         Upon information and belief, Treasurer Muoio

resides in Mercer County, New Jersey.




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                                            FACTS

       13.     ETO is a limited partnership whose limited partnership interests trade on the New

York Stock Exchange. Those partnership interests are traded as “units,” and are issued in

various classes—for example, 18 million units of Series C Preferred Units are traded on the

NYSE under the symbol “ETPprC.” As of the end of 2019, ETO had over 60 million units

outstanding, held by tens of thousands of partners who are residents of various states throughout

the United States. Most of those partners (about 94% of them) are not residents in and do not

have tax nexus with New Jersey.

       14.     ETO, through operating companies and through various subsidiary partnerships,

conducts operations throughout the United States, including New Jersey.

       15.     Of those nationwide operations, less than 5% have been conducted in New Jersey

in 2020 and so far in 2021.

       16.     New Jersey statute imposes an annual levy (which its legislature has characterized

as a “fee”) on any partnership that derives any amount of income from any New Jersey “source.”

N.J.S.A. 54A:8-6(b)(2)(A).

       17.     For each partnership for each year, the fee is computed by multiplying the number

of partners by $150, capped at a maximum of $250,000 per year. As a result, any partnership

with more than 1,666 partners is required to pay a flat, annual fee of $250,000 to New Jersey.

       18.     Any publicly traded partnership will have, because of the realities of the

marketplace, more than 1,666 partners. So for any publicly traded partnership, such as ETO, the

annual fee imposed by N.J.S.A. 54A:8-6(b)(2)(A) will always be exactly $250,000. Thus, the

annual fee will be $250,000 if 100% of the partnership’s business is in New Jersey; the annual

fee will be $250,000 if only 1% of the partnership’s business is in New Jersey. The fee will be




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$250,000 if none of the partners have tax nexus with New Jersey and file New Jersey tax returns,

and the fee will be $250,000 if all of the partners have tax nexus with New Jersey and all of them

file New Jersey tax returns. It’s always exactly $250,000 per year.

       19.     ETO owns interests in subsidiary partnerships, and certain of those partnerships

have been conducting a small portion of their business in New Jersey in 2020 and 2021. ETO

expects those partnerships to continue to do so in the future. As a partner in those subsidiary

partnerships, ETO has an interest in the income of those partnerships. Accordingly, ETO has

income from New Jersey sources (as that concept has been interpreted by Director Ficara), and

Director Ficara expects ETO to file and pay the fee as a result.

       20.     Under the authority of N.J.S.A. 54A:8-6(b)(2), each partnership with income from

a New Jersey source is required to file a partnership return by April 15 of the year following the

tax year. At the time of the filing of that partnership return, the $250,000 fee must be paid by the

partnership. N.J.S.A. 54A:8-6(b)(2)(A). The partnership must also, at the same time, make an

installment payment equal to 50% of the fee payable for the succeeding return period. N.J.S.A.

54A:8-6(b)(2)(B). Thus, Director Ficara expects ETO to pay a $250,000 fee on account of the

2020 tax year, and a $125,000 installment payment on account of the 2021 tax year (50% of

$250,000) by April 15, 2021. Further, Director Ficara expects ETO to make a payment of the

balance of its 2021 fee by April 15, 2022.

       21.     If ETO does not pay the New Jersey fees by the due dates, Director Ficara is

mandated by law to collect the fees from ETO. N.J.S.A. 54A:8-6(b)(2)(C) and 54:49-1, et seq.

Thus, if ETO does not pay the fees on time, the Director Ficara has the duty under color of state

law to assess the fees against ETO (N.J.S.A. 54:49-6(a)(requiring the Director to assess unpaid

amounts due), and also interest (N.J.S.A. 54:49-3) and penalty (N.J.S.A. 54:49-4(a) and N.J.S.A.




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54A:9-6)). Further, Director Ficara may, to collect the fees, issue a certification to the clerk of a

Superior Court of New Jersey, which shall become a judgment. N.J.S.A. 54:49-12. And the

Director Ficara may issue a warrant directing any county sheriff to levy upon any property of

ETO that may be found in the county. N.J.S.A. 54:49-13a.

        22.     Additionally, Treasurer Muoio may certify the unpaid fees to any federal official

and request that the federal official withhold any payment to ETO that may otherwise be due to

it. See N.J.S.A. 54:49-12.11.

                                             COUNT I
                               Violation of the Commerce Clause
                           Article I, Section 8 of the U.S. Constitution

        23.     ETO repeats and reiterates the allegations set forth in Paragraphs 1 through 22

above as if fully set forth herein.

        24.     When a state imposes a levy on interstate activity—whether that levy is

characterized as a tax or a fee—the Commerce Clause requires that the levy be apportioned and

that the levy not discriminate against interstate commerce. Complete Auto Transit, Inc. v. Brady,

430 U.S. 274, 279 (1977) (applying Commerce Clause limitations to taxes); American Trucking

Ass’n v. Scheiner, 483 U.S. 266, 296-97 (1987) (applying Commerce Clause limitations to fees if

those fees arise in interstate commerce).

        25.     To “apportion” a levy on interstate activities, the levy is first computed as it

would have been computed if it were imposed on activities wholly within a single state. Then

that amount is divided among the states where the activities takes place to determine what

“portion” of the whole levy is attributable to portion of the interstate activities conducted in the

state imposing the levy.

        26.     By contrast to this basic Commerce Clause requirement of apportionment, the fee

here is imposed on ETO without regard to the portion of ETO’s overall activity that is conducted


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in New Jersey. To put this in concrete terms, ETO would be subject to the same $250,000 fee

whether it conducted 1% of its business in New Jersey or 100% of its business in New Jersey.

Further, the $250,000 fee is imposed on ETO without regard to the portion of ETO’s partners

who are required to file a New Jersey tax return. Thus, ETO would be subject to the same

$250,000 fee whether 4% of its partners have tax nexus with New Jersey, or 0% of its partners

have tax nexus with New Jersey, or 100% of its partners have tax nexus with New Jersey.

       27.     Because New Jersey’s $250,000 fee is imposed on ETO’s interstate activities

without apportionment, the fee violates the Commerce Clause as applied to ETO (the fee is not

unconstitutional on its face because there are instances in which it does not violate the

Commerce Clause—for example, when it is imposed on partnerships conducting their business

entirely in New Jersey that are constituted solely by New Jersey partners).

       28.     Furthermore, as applied to ETO, the $250,000 fee discriminates against interstate

commerce, in violation of the Commerce Clause.

       29.     The United States Supreme Court has developed a mathematical test, referred to

as the “internal consistency test,” that identifies whether a levy (whether it is a tax or a fee)

discriminates against interstate commerce. See Comptroller of the Treasury v. Wynne, 135 S.Ct.

1787, 1793 (2015).

       30.     The internal consistency test looks at whether a state’s levy would expose

interstate commerce to the risk of duplicative levies to which fully intrastate commerce would

not be exposed. Wynne, 135 S.Ct. at 1795.

       31.     In order to determine whether a levy would expose interstate commerce to the risk

of duplicative levies, the internal consistency test poses a hypothetical question: if every state

were to enact a levy identical to the state levy in question, would a person who engages in




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interstate commerce pay more in levies than a person who engaged in identical activities but in a

single state? Wynne, 135 S.Ct. at 1803.

       32.     ETO conducts business in more than one state and has partners in more than one

state, so it is engaged in interstate commerce. Moreover, the fee is computed by reference to

ETO’s interstate business and by reference to the number of its partners throughout the United

States. Therefore, the $250,000 fee is a fee on interstate commerce.

       33.     Applying the internal consistency test here first requires a determination of the

amount of the fee that would be paid by a hypothetical, fully-intrastate partnership that is

otherwise identical to ETO—that is, a partnership that is identical to ETO but with its business

activities concentrated in New Jersey and its partners only located in New Jersey.              This

hypothetical, fully-intrastate partnership would be subject to a total fee of $250,000.

       34.     The internal consistency test then requires a determination of the aggregate

amount of fees that ETO would pay if that same business were not concentrated in New Jersey,

but instead were spread throughout multiple states. ETO conducts business activities and has

partners located in all 50 states, so ETO would be subject to a fee of $250,000 in each state, for a

total of $12.5 million in fees ($250,000 per state x 50 = $12.5 million).

       35.     Thus, ETO would pay $250,000 in fees if its business were entirely in New

Jersey, but would pay $12.5 million if the same business were spread across all fifty states.

Since interstate commerce would pay much greater fees than the same quantity of commerce

concentrated solely within the state, the fee is not internally consistent.

       36.     As New Jersey’s partnership fee fails the internal consistency test, it is “inherently

discriminatory and operates as a tariff” in violation of the Commerce Clause. Wynne, 135 S.Ct.

at 1804.




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       37.      Pursuant to the Declaratory Judgment Act, 28 U.S.C. § 2201, this Court should

determine ETO’s and Defendants’ rights and duties, and in so doing, declare that Defendants

may not impose or collet the fee from ETO because that fee, as applied to ETO, would violate

the Commerce Clause.

       38.      Further, pursuant to 42 U.S.C. § 1983, the Court should order injunctive relief in

favor of ETO against Defendants to redress the violation of ETO’s rights under the Constitution

of the United States due to Defendants’ imposition of and assessment and collection of the fee

from ETO pursuant to N.J.S.A. 54A:8-6(b)(2). See also Dennis v. Higgins, 498 U.S. 439 (1991)

(suits for violations of the Commerce Clause may be brought under 42 U.S.C. § 1983).

       WHEREFORE, ETO demands judgment against Defendants as follows:

             a. Declaring Defendants’ imposition, assessment, and collection of the fee from ETO

   is unconstitutional;

             b. Permanently enjoining Defendants and their agents, servants, employees, and all

   persons in active concert or participation with them from imposing, assessing or collecting

   the fee from ETO;

             c. Awarding ETO interest, costs of suit, and attorneys' fees; and

             d. Awarding such other and further relief as the Court determines just and equitable.




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                                       CERTIFICATION

        Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my

knowledge, information, and belief that this complaint: (1) is not being presented for an improper

purpose, such as to harass, cause unnecessary delay, or needlessly increase the cost of litigation;

(2) is supported by existing law or by a non-frivolous argument for extending, modifying, or

reversing existing law; (3) the factual contentions have evidentiary support or, if specifically so

identified, will likely have evidentiary support after a reasonable opportunity for further

investigation or discover; and (4) the complaint otherwise complies with the requirements of

Rule 11.

                         LOCAL CIVIL RULE 11.2 CERTIFICATION

        The undersigned hereby certifies upon information and belief, that the matter in

controversy—specifically an action for declaratory and injunctive relief with regard to the

partnership levy imposed for the 2020 and 2021 tax years—is not the subject of an action

pending in another court, or of any pending arbitration or administrative proceeding. There are

refund claims pending before the New Jersey Division of Taxation and Tax Court of New Jersey

regarding the levy paid for past years, however these matters are dormant and do not impact this

Court’s jurisdiction in this action.




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                           DESIGNATION OF TRIAL COUNSEL

        ETO hereby designates Kyle O. Sollie, Esq. and David G. Murphy, Esq. as trial counsel

in this action.

Dated: February 22, 2021                         REED SMITH LLP

                                                 /s/ David G. Murphy_________
                                                 David G. Murphy, Esq.
                                                 506 Carnegie Center – Suite 300
                                                 Princeton, New Jersey 08540
                                                 Tel (609) 987-0050

                                                 Kyle O. Sollie, Esq.
                                                 (Admission Pending)
                                                 Three Logan Square
                                                 1717 Arch Street, Suite 3100
                                                 Philadelphia, PA 19103
                                                 Tel (215) 587-0020

                                                 Attorneys for Plaintiff     Energy   Transfer
                                                 Operating, L.P.




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                                       February 19, 2021
